    Case 3:12-cr-01243-BEN   Document 247   Filed 07/23/13   PageID.817       Page 1 of 1


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                       UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALI FORNI                   \ JUL 2 3 2013          I
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                                                                  5Y u."~ ,     -              DEPUTY
UNITED STATES OF AMERICA,                   CASE NO. 12CR0124 ­

                       Plaintiff,
               vs.                          JUDGMENT OF DISMISSAL
VICTORIA NICOLE GARCIA (9),

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

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 X__ the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

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 X__ of the offense(s) as charged in the Indictment:

     21:841(a) (1) and 846; 21:853(a) and 853(p) - Conspiracy to Manufacture
     and Distribute Marijuana, Criminal Forfeiture; 21:841(a) (1); 18:2 ­
     Manufacture of Marijuana Plants; Aiding and Abetting


           IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: JULY 23, 2013


                                            U.S. Magistrate Judge
